                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF NORTH CAROLINA

MATTHEW TRAVIS ANDERSON,                  )
                                          )
                      Plaintiff,          )
                                          )
              v.                          )             1:20-CV-915
                                          )
ANTHONY PRIGNANO,                         )
                                          )
                      Defendant.          )

                                   ORDER AND JUDGMENT

       The Recommendation of the United States Magistrate Judge was filed in

accordance with 28 U.S.C. § 636(b) and the Clerk served the Recommendation on the

plaintiff. After consideration of the record, the Court hereby adopts the Magistrate

Judge’s Recommendation.

       It is ORDERED AND ADJUDGED that this action is filed and dismissed sua

sponte without prejudice to plaintiff filing a new complaint, on the proper § 1983 forms,

which corrects the defects cited in the Magistrate Judge’s Recommendation.

       This the 12th day of October, 2021.




                                          _________________________________
                                          UNITED STATES DISTRICT JUDGE




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